        Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 1 of 13




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

YVONNE BROWN,            )
                         )
     Plaintiff,          )
                         )                      CIVIL ACTION
vs.                      )
                         )                      FILE No. _____________________
MOONFLOWER HOLDINGS INC. )
and SVZ HOLDINGS INC.    )
                         )
     Defendants.         )

                                  COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendants MOONFLOWER

HOLDINGS INC. and SVZ HOLDINGS INC. pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                 JURISDICTION

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181, et

seq., based upon Defendants’ failure to remove physical barriers to access and

violations of Title III of the ADA.

                                            1
         Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 2 of 13




                                      PARTIES

        2.   Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Dallas,

Georgia (Paulding County).

        3.   Plaintiff is disabled as defined by the ADA.

        4.    Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

        5.   Plaintiff uses a wheelchair for mobility purposes.

        6.   Defendant     MOONFLOWER            HOLDINGS         INC.   (hereinafter

“Moonflower”) is a Georgia corporation that transacts business in the state of

Georgia and within this judicial district.

        7.   Moonflower operates a business located at 3979 Main Street, Unit

100, Acworth, Georgia 30101, doing business as “Fish Thyme Restaurant and

Bar.”

        8.   Moonflower may be properly served with process via its registered

agent for service, to wit: Steven J. Dudley, 2149 Sugar Maple Lane, Acworth,

Georgia 30101.

        9.   Moonflower is a lessee (or sub-lessee) of a portion of the real property


                                             2
            Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 3 of 13




and improvements that are the subject of this action. (The multiple structures and

improvements situated upon such real property shall be collectively referenced

herein as the “Facility”).

       10.      Defendant SVZ HOLDINGS INC (hereinafter “SVZ”) is a Georgia

corporation that transacts business in the state of Georgia and within this judicial

district.

       11.      SVZ is the owner or co-owner of the real property and improvements

that the Facility is situated upon and that is the subject of this action, referenced

herein as the “Property.”

       12.      SVZ may be properly served with process via its registered agent for

service, to wit: Steven J. Dudley, 2149 Sugar Maple Lane, Acworth, Georgia

30101.

                             FACTUAL ALLEGATIONS

       13.      On or about September 22, 2018 at approximately 5:00 P.M., Plaintiff

attempted to be a customer at “Fish Thyme Restaurant & Bar.”

       14.      Despite numerous open tables available for dining service at “Fish

Thyme Restaurant & Bar,” Plaintiff was denied service under the pretext that there

was no available seating.

       15.      Upon information and good faith belief, Plaintiff was denied service


                                           3
         Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 4 of 13




due to her disability.

      16.    Plaintiff lives in the near vicinity of the Facility and Property.

      17.    Plaintiff’s access to the business(es) located at 3979 Main Street,

Acworth, Georgia 30101, Cobb County Property Appraiser’s contiguous parcel

numbers 20006800930 and 20006800480, and/or full and equal enjoyment of the

goods,    services,   foods,   drinks,   facilities,   privileges,   advantages   and/or

accommodations offered therein were denied and/or limited because of her

disabilities, and she will be denied and/or limited in the future unless and until

Defendants are compelled to cease their discriminatory practices and policies, and

further, until they are compelled to remove the physical barriers to access and

correct the ADA violations that exist at the Facility and Property, including those

set forth in this Complaint.

      18.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      19.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      20.    Plaintiff travelled to the Facility and Property as a customer,

encountered the barriers to access at the Facility and Property that are detailed in


                                            4
        Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 5 of 13




this Complaint, engaged those barriers, suffered legal harm and legal injury, and

will continue to suffer such harm and injury as a result of the illegal barriers to

access present at the Facility and Property.

                              COUNT I
                  VIOLATIONS OF THE ADA AND ADAAG

      21.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      22.    The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      23.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      24.    The Facility is a public accommodation and service establishment.

      25.    The Property is a public accommodation and service establishment.

      26.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      27.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

                                          5
        Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 6 of 13




C.F.R. § 36.508(a).

      28.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      29.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      30.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

but could not fully do so because of her disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit her access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      31.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Facility

and Property, but will be unable to fully do so because of her disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit her access to the Facility and


                                          6
        Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 7 of 13




Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      32.    Defendants have discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      33.    Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      34.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.     One or more accessible parking spaces on the Property are not


                                           7
     Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 8 of 13




         located on the shortest accessible route from the accessible

         parking space(s) to the accessible entrances of the Facility, in

         violation of section 208.3.1 of the 2010 ADAAG standards.

b.       Accessible parking spaces are not properly located and/or

         distributed on the Property in violation of section 208.3 of the

         2010 ADAAG standards.

c.       The Property lacks a van accessible disabled parking space, in

         violation of section 208.2.4 of the 2010 ADAAG standards.

d.       The accessible parking space on the Property most proximate to

         Unit 140 does not have a properly marked access aisle adjacent

         to it, in violation of section 502.3.3 of the 2010 ADAAG

         standards.

e.       The accessible parking space on the Property most proximate to

         Unit 250 does not have a properly marked access aisle adjacent

         to it, in violation of section 502.3.3 of the 2010 ADAAG

         standards.

f.       The accessible parking space on the Property most proximate to

         Unit 250 has a slope in excess of 1:48 (one to forty-eight), in

         violation of section 502.4 of the 2010 ADAAG standards and is


                                     8
     Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 9 of 13




         not level.

g.       The walking surfaces of the accessible route on the Property

         between Units 130 and 140 have excessive slope, in violation of

         section 403.3 of the 2010 ADAAG standards.

h.       Further, the portion of the accessible route on the Property

         between Units 130 and 140 has a rise greater than 6 (six) inches

         but does not have handrails, in violation of sections 405.8 and

         505 of the 2010 ADAAG standards.

i.       The accessible ramp between Unit 100 and Unit 150 has a slope

         exceeding 1:12 (one to twelve), in violation of section 405.2

         and a cross-slope greater than 1:48 (one to forty-eight), in

         violation of section 405.3 of the 2010 ADAAG standards.

j.       The accessible ramp on the Property between Unit 100 and Unit

         150 also has a rise greater than 6 (six) inches but does not have

         handrails, in violation of sections 405.8 and 505 of the 2010

         ADAAG standards.

k.       The Unit 100 portion of the Facility lacks at least 5% (five

         percent) of the exterior dining surfaces provided for

         consumption of food or drink that comply with section 902.2 of


                                     9
       Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 10 of 13




             the 2010 ADAAG standards, requiring appropriate knee and toe

             clearance complying with section 306 of the 2010 ADAAG

             standards, positioned for a forward approach, in violation of

             section 226.1 of the 2010 ADAAG standards.

      l.     The interior of the Unit 100 portion of the Facility has a bar

             lacking any portion of which that has a maximum height of 34

             (thirty-four) inches from the finished floor, in violation of

             section 902.3 of the 2010 ADAAG standards.

      35.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      36.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      37.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      38.    All of the violations alleged herein are readily achievable to modify


                                         10
       Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 11 of 13




to bring the Facility and Property into compliance with the ADA.

      39.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      40.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendants have the financial resources to make the necessary

modifications.

      41.    Upon information and good faith belief, the Facility and Property

have been altered since 2010.

      42.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      43.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      44.    Plaintiff’s requested relief serves the public interest.


                                          11
       Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 12 of 13




      45.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendants.

      46.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      47.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an order to modify the

Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Moonflower Holdings Inc. in violation of the

             ADA and ADAAG;

      (b)    That the Court find SVZ Holdings Inc. in violation of the ADA and

             ADAAG;

      (c)    That the Court issue a permanent injunction enjoining Defendants

             from continuing their discriminatory practices;

      (d)    That the Court issue an Order requiring Defendants to (i) remove the

             physical barriers to access and (ii) alter the subject Facility to make it

             readily accessible to and useable by individuals with disabilities to the

             extent required by the ADA;

      (e)    That the Court award Plaintiff her reasonable attorneys' fees, litigation


                                         12
       Case 1:18-cv-05138-MHC Document 1 Filed 11/07/18 Page 13 of 13




             expenses and costs; and

      (f)    That the Court grant such further relief as just and equitable in light of

             the circumstances.

                                       Dated: November 7, 2018.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




                                         13
